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                                               8 MICHAEL ANDREW ROBINSON
                                                 and GRABBA LEAF, LLC
                                               9
                                       10                         UNITED STATES DISTRICT COURT
                                       11                        CENTRAL DISTRICT OF CALIFORNIA
                                       12 MICHAEL ANDREW ROBINSON, an                   Case No. 2:21-cv-06689-RGK-(JCx)
                                          individual, et al.,
                                       13                                               Action Commenced August 18, 2021
                                                        Plaintiffs,
                                       14                                               PLAINTIFFS’ MEMORANDUM OF
                                                 vs.                                    POINTS AND AUTHORITIES IN
                                       15                                               OPPOSITION TO THE
                                          BEST PRICE DISTRIBUTORS, LLC, a               FOLLOWING MOTIONS IN
                                       16 California limited liability company, doing   LIMINE BY DEFENDANTS:
                                          business as WESTERN WHOLESALE
                                       17 and as QUICK TOBACCO                          NOS. 10 (EXCLUDING
                                          WHOLESALE, et al.,                            TESTIMONY OF J. MICHAEL
                                       18                                               MOORE) AND
                                                        Defendants.
                                       19                                               NO. 11 (EXCLUDING TESTIMONY
                                                                                        OF KEVIN M. READ)
                                       20
                                                                                        [COMBINED DECLARATION AND
                                       21                                               EXHIBITS FILED
                                                                                        CONCURRENTLY]
                                       22
                                                                                        The Hon. R. Gary Klausner
                                       23                                               Courtroom 850
                                       24                                               Trial Date: November 8, 2022
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                                               1                 MEMORANDUM OF POINTS AND AUTHORITIES
                                               2 I.        INTRODUCTION
                                               3           The Court should deny Defendants’ MIL Nos. 10 and 11 for numerous
                                               4 reasons. First, the look and feel of the product packaging, including what is, and
                                               5 isn’t on the product packaging, as well as signs of counterfeiting, have always been
                                               6 an issue in this case, as has the tactile and olfactory characteristics of the tobacco
                                               7 leaf in the products. Both parties had samples of the packaging and the leaf and
                                               8 were free to test, to sample, and to send the products to consultants and experts (and
                                               9 did). Second, Plaintiffs timely provided initial, supplement and rebuttal reports
                                       10 relating to the counterfeit nature of the Defendants’ product, and differences
                                       11 between products. Third, as affirmatively shown below, Defendants have not
                                       12 suffered prejudice from any alleged deficiencies in any report; additionally,
                                       13 Defendants have not demonstrated any prejudice.
                                       14                  Perhaps recognizing that an order precluding J. Michael Moore and Kevin
                                       15 Read from testifying is not appropriate, Defendants alternatively request a Daubert
                                       16 hearing. But Defendants do not identify any basis for a hearing; they appear simply
                                       17 to want a court-supervised general depositions before trial starts. Neither Daubert
                                       18 nor its progeny contemplate that pre-trial hearings for all experts take place simply
                                       19 because a party requests it.
                                       20 II.              FACTUAL STATEMENT
                                       21                  A.    The Complaint And The Discovery In This Action Show That The
                                       22                        Parties Have Directly Litigated The Tactile And Olfactory
                                       23                        Characteristics Of The Genuine And Counterfeit Tobacco Leaves
                                       24                        In This Litigation.
                                       25                  Plaintiffs’ original complaint and the operative First Amended Complaint
                                       26 (“FAC”) both allege, among other things, claims for trademark and copyright
                                       27 infringement and counterfeiting. ECF Nos. 1 and 72. They allege, among other
                                       28 things, that Defendants “are selling and offering for sale counterfeit, inferior
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                                               1 quality” whole leaf tobacco products in packaging that duplicates and infringes
                                               2 Plaintiffs’ registered trademarks. ECF No. 1 and 72, ¶1; see also ECF No. 1 ¶ 19
                                               3 and Dkt. 72, ¶20 (Plaintiffs learned of complaints that tobacco leaf in ostensible,
                                               4 but counterfeit, packaging was “of markedly inferior quality”); Dkt. 1, ¶ 20-21;
                                               5 Dkt. 72, ¶21-22 (providing some investigation into counterfeit products).
                                               6           The FAC thus places in issue both (a) a comparison of the nature, quality and
                                               7 characteristics of the packaging used for the genuine and counterfeit tobacco
                                               8 products, and the use of the GRABBA LEAF registered trademarks and copyrights;
                                               9 (b) the touch, feel, flexibility and smell of the actual tobacco leaf in the genuine
                                       10 versus the counterfeit tobacco leaf; and (c) the nature of counterfeiting and how to
                                       11 spot it.
                                       12                  After filing the complaint, Plaintiffs moved for and obtained a preliminary
                                       13 injunction from this court. ECF Nos. 52, 76. Plaintiffs offered numerous
                                       14 declarations and exhibits in support. ECF Nos. 52-1 through 52-4.
                                       15                  In deposition, Michael Robinson testified about the low quality of the cigar
                                       16 wrap in the counterfeit product, responding to direct questions from defendants.
                                       17 Defense counsel who acknowledged that the quality of the counterfeit issue was an
                                       18 issue when he observed that Plaintiffs had consistently explained that the
                                       19 “counterfeit Grabba Leaf Wholesale Leaf smells terrible, its terrible tobacco.”
                                       20 Robinson responded to questioning on the subject at length. (Ex. 1:Vol. 1,
                                       21 Robinson Depo., p. 30:7-14, 30:24-31:2, 33;8-17; 34-35; Ex. 2:Vol. 2, Robinson
                                       22 Depo., p. 135:1-6; 139:15-19, 269:1-270:2)
                                       23                  In his deposition, percipient defendant Ahmed contended that it was
                                       24 “difficult” to know “with a hundred degree or with 100 percent certainty which one
                                       25 is counterfeit an which one is genuine,” presumably meaning that he did not see a
                                       26 difference in the appearance or smell of the two products (genuine or
                                       27 counterfeit).(Ex. 3:Ahmed Depo., p. 118:13-16.)
                                       28
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                                               1           Of course, defendants were and are free to take the position that there is no
                                               2 difference in contrapose to Plaintiffs’ position that there are differences in the
                                               3 visual appearance and fragrance between the genuine and counterfeit leaf. This just
                                               4 shows that the issue was fully joined.
                                               5           Further evidence that the issue was joined: In discovery, Defendants asked,
                                               6 for writings that relate or refer to (a) whether genuine GRABBA LEAF was
                                               7 selected from the finest tobacco leaves available (b) inspection and selection of
                                               8 leaves for genuine GRABBA LEAF products, and (c) the manner of selection of
                                               9 genuine GRABBA LEAF leaves. (Ex. 4: Defendants first set of document demands,
                                       10 demand nos. 2-4.) In all, Plaintiffs produced over 6,870 pages of documents in
                                       11 discovery. (Speiss Decl. ¶4.)
                                       12                  B.    All Parties Have Had Access To Genuine And Counterfeit Leaves
                                       13                        To Inspect, And To Test, And Discovery Shows That All Parties
                                       14                        Have Used That Opportunity To Test The Leaves.
                                       15                  In discovery, numerous packages of both the genuine and the counterfeit
                                       16 product were produced. (Speiss Decl., ¶4) Each side had access to the product and
                                       17 the ability to test it, as well as to inspect it for tactile and olfactory differences, and
                                       18 to hire experts to address these issues. Defendants were neither prevented nor
                                       19 precluded from doing so and had the independent right to do so.
                                       20                  C.    Plaintiffs Provided Reports, and Supplemented those Reports
                                       21                        Timely
                                       22                        1.     The Time Periods At Issue
                                       23                  The Court’s scheduling order set a fact discovery cut-off date for August 11,
                                       24 2022. It did not set a cut-off date for expert discovery. Dkt. 41.
                                       25                  The scheduling order set the pretrial conference for October 24, 2022.
                                       26                  The Court’s civil trial order (last amended in 2010) addresses expert
                                       27 witnesses and reports. It states:
                                       28
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                                               1                  If expert witnesses are to be called at trial, the parties
                                               2                  shall exchange at the Final Pre-Trial Conference short
                                               3                  narrative statements of the qualifications of the expert and
                                               4                  the testimony expected to be elicited at trial. If reports of
                                               5                  experts to be called at trial have been prepared, they shall
                                               6                  be exchanged at the Final Pre-Trial Conference, but shall
                                               7                  not substitute for the narrative statements required.
                                               8            Plaintiffs provided all their reports (initial, supplement, and rebuttal) before
                                               9 the Pretrial Conference invited Defendants to propose dates upon which they would
                                       10 like to take the depositions of all of Plaintiffs’ experts before the Pretrial
                                       11 Conference, in compliance with the Court’s civil trial order.
                                       12                         2.     The J. Michael Moore Report And His Rebuttal To The
                                       13                                Fitsanakis Report.
                                       14                   The August 10, 2022 Report of J. Michael Moore stated, among other things,
                                       15 that he would address tobacco farming, including tobacco leaf quality and the types
                                       16 of leaves harvested domestically and internationally, and that he would testify that
                                       17 genuine Grabba Leaf tobacco products are grown in the U.S. while lower quality
                                       18 tobacco leaf is grown outside the U.S., for example in China. He also stated that he
                                       19 would testify about the adoption of agricultural standards and practices used for
                                       20 tobacco crops.
                                       21                   Defendants served a report by their expert witness, Vanessa Fitsanakis, PhD.,
                                       22 demonstrating that Defendants’ knew and understood that the comparative
                                       23 characteristics of the genuine and counterfeit tobacco leaf were at issue as well as
                                       24 the agricultural standards that applied. The Fitsanakis Report describes that there
                                       25 are international guidelines for pesticides and heavy metals used by the Cooperation
                                       26 Center for Scientific Research Relative to Tobacco (CORESTA), which guidelines
                                       27 are used for tobacco.1
                                       28          1
                                                       As an aside: despite this recognition, Fitsanakis relied on laboratory testing that
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                                               1           In her report, Fitsanakis also stated that the source of tobacco leaf could not
                                               2 be determined (again demonstrating that the Defendants knew and understood that
                                               3 the sourcing of the competing tobacco leaf was an issue they were to address),
                                               4 implying that only the levels of cadmium (which is naturally occurring in soils) can
                                               5 determine this, and there is too much variation in cadmium levels to make that
                                               6 determination. (Report, p. 16.)
                                               7           Dr. Moore submitted a rebuttal to the Fitsanakis report. He agreed that
                                               8 CORESTA guidelines address levels of chemicals, heavy metals, etc. in tobacco
                                               9 leaf and agreed that heavy metals occur naturally in soil. Thus, the need for such
                                       10 testimony (including testimony concerning CORESTA standards and their
                                       11 application here) is not a surprise to Defendants nor is there any prejudice.
                                       12                  Dr. Moore also rebutted Fitsanakis “opinions” concerning whether Grabba
                                       13 Leaf genuine product “failed” tests by the laboratory testing that she referenced in
                                       14 her report because those tests did not use the applicable CORESTA standards that
                                       15 even Fitsanakis agreed were the proper standards to use. Since both the Drs. Moore
                                       16 and Fitsinakis have stated that CORESTA standards apply, there is no prejudice or
                                       17 surprise in this testimony. Further, Defendants have served a subpoena for the
                                       18 deposition of Dr. Moore and he will be made available for deposition.
                                       19                  Dr. Moore further rebutted Fitsanakis’ opinion that the source of the products
                                       20 could not be determined. He explained that the source could be determined in two
                                       21 ways: first, by the levels of MH in tobacco leaf (which was prevalent in tobacco
                                       22 grown in the US to control sucker growth in tobacco after topping, and not
                                       23 prevalent in tobacco out of the United States);2 second, he stated and explained his
                                       24 sets different standards than those set by CORESTA – the latter of which she states
                                          are the controlling standards. For this reason, Plaintiffs have moved to exclude her
                                       25 testimony based on her report that relies on inapplicable testing limits. Plaintiffs
                                          will not repeat arguments made concerning the deficiencies in theFitsanakis Report.
                                       26 Those were addressed in Plaintiffs’ MIL No. 3. ECF No. 130.
                                          2
                                            It appears that the Defendants, or their expert, elected not to test for MH when
                                       27 they tested the genuine and counterfeit leaves. But they were and remain free to do
                                          so if they believe that the test results relied on by Mr. Moore are not accurate in
                                       28 order to address and challenge his opinion. Hence they have not been harmed or
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                                               1 opinion that comparing the level of cadmium in the competing products (genuine
                                               2 and counterfeit) including based on the very tests undertaken during discovery, the
                                               3 levels of cadmium could indeed indicate source of the leaves, such that the levels of
                                               4 the cadmium in the counterfeit samples show that the counterfeit leaf was grown
                                               5 out of the country.
                                               6                 3.    Dr. Moore’s Supplemental Report
                                               7           On the same day that the Moore Rebuttal Report was submitted (September
                                               8 16), Plaintiffs submitted a Moore Supplement Report providing additional detail on
                                               9 Dr. Moore’s opinions regarding the tobacco leaf quality of the genuine and
                                       10 counterfeit tobacco leaves, comparing the scent and the tactile characteristics of
                                       11 both.
                                       12                        4.    The Kevin M. Read Report and Supplemental Report
                                       13                  The August 10, 2022 report of expert witness Kevin Read addressed the
                                       14 characteristics and factors one looks to do determine if goods are counterfeit,
                                       15 including assessment of the packaging differences, the differences in tobacco
                                       16 composition, and the inconsistencies in the packaging regarding genuine and the
                                       17 counterfeit tobacco leaves at issue. He noted that the counterfeit nature of
                                       18 packaging could be assessed by the price charged for goods, spelling and grammar
                                       19 mistakes, quality of printing on the packaging such as blurring, flimsy packaging,
                                       20 missing details (like codes, serial numbers, or model numbers) that generally appear
                                       21 on the original packaging. He stated that his opinion regarding the genuine
                                       22 GRABBA LEAF and the counterfeit focused, among other things, on packaging
                                       23 differences, differences in tobacco composition, and inconsistencies in printing and
                                       24 labeling, inconsistencies in the product seal, product logo differences, and
                                       25 additional terms not used on the authentic product.
                                       26                  Mr. Read then supplemented his report to provide additional detail on how
                                       27 these factors show which products are genuine and which are counterfeit
                                       28 prejudiced.
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                                               1 (addressing product seal differences, the color of the packaging, the lettering on the
                                               2 contrasting packages, and the differences in sharpness of the product
                                               3 descriptions/lettering on the product packages (i.e. blurring) – part of the same
                                               4 factors addressed in his original report). And, of course, the parties all had
                                               5 packaging of both products to provide to their consultants and possible experts on
                                               6 the issue of the differences in product packaging.
                                               7           Mr. Read’s supplemental report also contains reference to the fact that
                                               8 counterfeit merchandise can lead to health and safety problems (in paragraph 12),
                                               9 and then lists examples from the car industry, from electronics, prescription drugs
                                       10 and cosmetics. In this case he will not be opining on health and safety issues
                                       11 regarding these industries, and to the extent that the motion in limine seeks to
                                       12 preclude him from testifying about this (as opposed to describing his history and
                                       13 experience generally about counterfeiting to show his background and experience
                                       14 so as to provide his other opinions) he will not testify about health and safety issues
                                       15 that have arisen in other industries.
                                       16                  D.    Defendants Do Not Claim that They Were Prejudiced, and They
                                       17                        Have Not Been
                                       18                  Defendants never previously claimed that any original disclosures were
                                       19 deficient.
                                       20                  In their MIL No. 11 (regarding Read) they do not claim or contend that
                                       21 Read’s report is deficient, so they cannot preclude testimony on the characteristics
                                       22 and factors one looks to do determine if goods are counterfeit versus genuine, or on
                                       23 the characteristics and factors he used to assess the differences between the genuine
                                       24 GRABBA LEAF and counterfeit products.
                                       25                  Defendants only claim (in MIL No. 10) that the Dr. Moore initial report was
                                       26 inadequate.3 However, they never moved to compel a more complete statement.
                                       27          3
                                            Defendants claim that they are prejudiced because they could not attach reports, as
                                          they are marked confidential, but they could have filed the material under seal
                                       28 pursuant to the protective order in this action. ECF No. 24.
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                                               1            In their moving papers in support of MIL Nos. 10 and 11, Defendants do not
                                               2 claim any prejudice or surprise; nor do they state, or explain that they have been
                                               3 prejudiced or how. As set forth below, they have not been.
                                               4            On October 4, 2022, after the Defendants had in their possession original
                                               5 reports, as well as supplements and rebuttal reports, Plaintiffs offered dates for Dr.
                                               6 Moore’s deposition on October 19, 20 and 21 over Zoom or in person in Athens,
                                               7 Georgia and for Mr. Read on October 20 or 21 over Zoom or in person in Chicago
                                               8 Illinois. (Speiss Decl., ¶6.)
                                               9            Defendants have only subpoenaed Dr. Moore for deposition. (Ibid.)
                                       10 III.              LEGAL ARGUMENT
                                       11                   A.    Rule 26 as it Applies to Experts.
                                       12                   Federal Rule of Civil Procedure 26 provides that parties are to disclose
                                       13 experts they expect to call at trial. 4 For retained experts, the expert is to provide a
                                       14 report. Rule 26(a)(2)(A) and (B). For non-retained experts, a report is not required –
                                       15 all that is required is a short statement of the subject matter of the expected
                                       16 testimony. Rule 26(a)(2)(C).
                                       17                   Parties are to make the disclosures “at the times and in the sequence that the
                                       18 court orders.” Rule 26(a)(2)(D).
                                       19                   Here the Court’s civil trial order states that expert disclosures are to be made
                                       20 at the time of the Pretrial Conference. (Section C.1.) Accord, Lazos v. City of
                                       21 Oxnard, 2009 WL 10699666 at *2 (C.D. Cal., July 30, 2009.)(discussing this
                                       22 Court’s civil trial order; the order has not been amended since).) Hence there can be
                                       23 no basis to strike a report as untimely if made before the date it is due. Higley v.
                                       24 Cessna Aircraft Co., 2011 WL 13124622, at *1 (C.D. Cal. Dec. 12, 2011)
                                       25                   In the absence of a court order (or stipulation), Rule 26 provides a schedule
                                       26 for disclosure. Rule (a)(2)(D)(i)-(ii)(original reports 90 days before trial; rebuttal
                                       27 reports within 30 days following an opposing party’s expert disclosure).
                                       28          4
                                                       All further citation to “Rules” is to the Federal Rules of Civil Procedure.
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                                               1           Rule 26 further provides that expert reports are to be supplemented when (a)
                                               2 an original disclosure is determined to be incomplete or incorrect, or (b) otherwise
                                               3 has not been made known to the parties during discovery, or as ordered by the
                                               4 court. Id. at subd. (a)(2)(E) and at subd. (e); Harvey v. THI of New Mexico at
                                               5 Albuquerque Care Ctr., LLC, No. 12-CV-727 MCA/LAM, 2015 WL 13667111, at
                                               6 *3 (D.N.M. Mar. 31, 2015) (denying motion to strike expert testimony).
                                               7           Additionally, a party who contends that an original report is too vague, or
                                               8 inadequate should first move to compel a further disclosure before seeking
                                               9 preclusion sanctions. Higley, 2011 WL 13124622, at *1, citing Rule 37(a)(3)(B)
                                       10 and digesting cases, including Harvey v. District of Columbia, 949 F.Supp. 874,
                                       11 877 (D.D.C. 1996) (denying defendant's motion to strike plaintiff’s expert
                                       12 testimony in the absence of a prior motion to compel adequate disclosure); Wertz v.
                                       13 Target Corp., 2009 WL 635655, at *3 (E.D. Cal. 2009) (denying motion to exclude
                                       14 plaintiff's expert testimony where defendant did not first file a motion to compel
                                       15 and emphasizing that “[e]xclusion is a harsh remedy, [the] [i]mposition of [which]
                                       16 because of discovery violations is generally improper absent undue prejudice to the
                                       17 opposing side”) (internal quotation omitted); Wolsey, Ltd. v. Foodmaker, Inc., 1998
                                       18 WL 2001059, at *2 (S.D.Cal. Dec. 3, 1998)(denying motion to exclude defendant’s
                                       19 expert testimony based on inadequate Rule 26 disclosures where plaintiff had an
                                       20 alternative remedy which did not “unfairly depriv[e] [defendant] of its expert’s
                                       21 complete opinion.”); Merancio v. Smith & Nephew, Inc., 2017 WL 2257124, at *5
                                       22 (E.D. Cal. May 23, 2017).
                                       23                  B.    Defendants May Not Now Seek To Strike Dr. Moore’s Initial
                                       24                        Report On The Grounds That They Claim It Is Inadequate.
                                       25                  Here, all of the original reports were made months before the Pretrial
                                       26 Conference. If the defendants believed Dr. Moore’s was inadequate, or incomplete,
                                       27 then they should have moved to compel a more complete disclosure. (See
                                       28 discussion at Section III.A.) They did not.
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                                               1           Separately, defendants have not been prejudiced by any alleged inadequacy,
                                               2 and any alleged deficiencies are justified and/or harmless.
                                               3           Dr. Moore supplemented his report, providing additional information
                                               4 concerning his opinions on the nature and quality of the tobacco leaf products at
                                               5 issue. That information does not constitute a different opinion; rather it is a more
                                               6 complete opinion. His report discusses his analysis of the obvious and apparent
                                               7 differences in the smell and tactile attributes of the genuine and counterfeit leaf.
                                               8 This is not a new issue. As Defendants concede, this was raised in discovery (by
                                               9 Plaintiff, Mr. Robinson); and defendants had samples of both genuine and
                                       10 counterfeit leaf to examine for themselves and to provide to any potential
                                       11 consultants and experts during fact discovery. They certainly had the information
                                       12 necessary to address the issue and cross-examine Dr. Moore at a deposition or at
                                       13 trial.
                                       14                  In other words, there was discovery on this. Defendants own actions show
                                       15 that they knew this would be an issue. Defendants had the ability and opportunity to
                                       16 obtain an expert. They actually recently selected a non-retained expert – Mr.
                                       17 Ahmed – to provide rebuttal opinions, including specifically to refute the opinions
                                       18 of Mr. Robinson “regarding the quality of the Grabba Leaf tobacco products and
                                       19 the alleged counterfeit Grabba Leaf products.” (Ex. 5 ¶4 [Ahmed Rebuttal Report.)
                                       20                  It is unclear if the defendants claim that other parts of the Moore Report are
                                       21 inadequate – because they do not identify any general or specific inadequacies. If
                                       22 they claim that Dr. Moore’s initial report did not provide sufficient detail
                                       23 concerning applicable tobacco standards or guidelines, again: (a) they did not move
                                       24 to compel a more fulsome statement, (b) they were not prejudiced as evidenced by
                                       25 the fact that their own proffered expert – Vanessa Fitsanakis – discussed the
                                       26 applicable tobacco standards and guidelines – and specifically the CORESTA
                                       27 guidelines for tobacco.
                                       28                  Defendants’ attempt to exclude Dr. Moore’s testimony on the grounds that
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                                               1 his initial report was inadequate should be denied. The cases on which Defendants
                                               2 rely do not acknowledge or discuss either the case law indicating that Defendants
                                               3 should first have sought a more complete statement (and perhaps the issue was not
                                               4 raised in those cases); moreover those cases are factually inapposite here. See, e.g.,
                                               5 Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d. 1101, 1105 (9th Cir. 2001)
                                               6 (party waited two years after the close of all discovery to provide expert report
                                               7 claiming that they were not sure they would use the expert, and then provided the
                                               8 expert report as a rebuttal report rebutting an opposing expert a year after the
                                               9 opposing expert’s report was served)5
                                       10                 In addition to having initial, supplemental, and rebuttal reports providing
                                       11 specifics of the proffered opinions, Defendants also were given the opportunity to
                                       12 depose Dr. Moore about his opinions (including the supplemental and rebuttal
                                       13 opinions) and they apparently will do so.
                                       14                 In sum, Defendants have good information about the basis for Dr. Moore’s
                                       15 opinions and, independently, were well aware of the issues for trial and already had
                                       16 experts selected and designated.6 They were not prejudiced in their ability to
                                       17 depose any expert to prepare to do so, or to address the issues on which experts
                                       18 would opine.
                                       19
                                       20
                                       21
                                       22         5
                                                    Other examples: Karl Storz Endoscopy-Am., Inc. v. Stryker Corp., 2018 WL
                                                  1569762 (N.D. Cal. Mar. 30, 2018) (expert provided only initial report and never
                                       23         supplemented, and party against whom exclusion was sought did not demonstrate
                                                  that issue was not prejudicial or was harmless); EmersonElec. Co. v. Suzhou
                                       24         ClevaElec. ApplianceCo., 2015 WL 2176964 at *1-3 (E.D. Mo. May 8, 2015)
                                                  (disgesting authorities and explaining that only opinions that were entirely new and
                                       25         unexpected, or that contradicted prior report were excluded, opinions that simply
                                                  gave greater detail concerning opinions are not the subject of exclusion); InfoSpan,
                                       26         Inc. v. Emirates NBD Bank PJSC, 2016 WL 8849699, at *2 (C.D. Cal. June 8,
                                                  2016) (party could not designate percipient witness as an expert after the percipient
                                       27         witness deposition was taken and after all deadlines for expert disclosure had
                                                  already passed).
                                       28         6
                                                    Again, they DO NOT claim that Read’s initial report was inadequate.
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                                               1           C.    Dr. Moore’s And Mr. Read’s Supplemental Reports Provide
                                               2                 Entirely Permissible Additional Detail And Thus Properly
                                               3                 Supplement Their Initial Reports
                                               4           The supplemental reports of both Dr. Moore and Mr. Read did nothing more
                                               5 than provide additional detail regarding prior reports/opinions, making them more
                                               6 complete. (See discussion at Section II.C.2-4.)
                                               7           Even the case law cited by Defendants’ concedes that supplements that flesh
                                               8 out details (as opposed to adding new opinions or contradicting prior opinions) are
                                               9 proper. Compare EmersonElec. Co., supra, 2015 WL 2176964 at *1-3 (discussed at
                                       10 fn. 6) with Cheese Sys. v. Tetra Pak Cheese & Powder Sys., 725 F.3d 1341, 1355
                                       11 (Fed.Cir. 2013) (in patent case, new opinions offered by expert after expert
                                       12 discovery deadline had passed were excluded, but not opinions that “simply
                                       13 provided greater detail on prior opinions”); nCube Corp. v. SeaChange Int'l, Inc.,
                                       14 809 F.Supp.2d 337, 347 (D. Del. 2011) (denying motion to strike expert opinions
                                       15 because hearing testimony was a reasonable synthesis or elaboration of prior
                                       16 opinions). The reports do not, as did the supplement at issue in Beller ex rel Beller
                                       17 v. United States, 221 F.R.D. 689 (D.N.M. 2003), contradict prior reports. 7
                                       18                  Even if they are not considered true supplements, there is no basis to
                                       19 preclude the testimony these experts offer. As previously addressed, there is not
                                       20 prejudice or surprise, and Defendants have not established prejudice or harm or
                                       21 surprise. This is especially so (a) when Defendants have elected not to depose all
                                       22 of Plaintiffs’ experts, (b) when they had all the information that they needed to
                                       23 cross-examine these experts in any event, and (c) when they had the products and
                                       24 packaging to examine, test and address with their own experts.
                                       25
                                          7
                                            Defendants also rely on Cohmia v. Ardent Health Services, LLC, 254 F.R.D. 426
                                       26 (N.D. Okla. 2008). But in that case, the party that offered inadequate initial reports
                                          at the court ordered cut-off date for reports argued that they should be allowed an
                                       27 additional four months to supplement, that the court set a new expert cut-off date,
                                          and should continue trial in what was a three year old case that had already been
                                       28 rescheduled once before. That is not the procedural posture of this case.
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                                               1           D.    Defendants’ Contention That the Subject Matter of Testimony In
                                               2                 The Initial Reports Lacks Relevance Is Ill Taken.
                                               3           This case is about whether Defendants violated Plaintiffs’ registered
                                               4 trademarks and copyrights. A review and assessment of the packaging between the
                                               5 genuine and counterfeit packaging, how closely it was made to resemble the
                                               6 genuine packaging, and what the difference are, as well as the quality of the leaf
                                               7 contained in them is central to the case, and has always been an issue. It is no
                                               8 different than a case about trademark or copyright infringement of Rolex watches,
                                               9 for example, or designer-brand luggage, Apple products, or Nike/Adidas
                                       10 sportswear. Where the differences are small, making it hard for a consumer to
                                       11 discern, someone with more experience can explain differences (in construction,
                                       12 quality, etc). And the closer the counterfeit is to the genuine, the more likely that
                                       13 the counterfeiter’s conduct was willful (which is relevant to damages).
                                       14                  Of course the information is relevant; and it will be helpful to a jury.
                                       15 Defendants do not contend that an “average joe” can discern the difference,
                                       16 especially in product packaging.
                                       17                  E.    Defendants Do Not Make Out a Daubert Challenge
                                       18                  While Defendants generally cite to case law concerning the Court’s
                                       19 gatekeeping function, their arguments are entirely abstract and provide no basis for
                                       20 challenging the reliability of any of the opinions. Defendants do not appear to
                                       21 claim that Dr. Moore lacks the qualifications to give his opinions, and they have his
                                       22 CV, which they could have attached if they wanted to make such a challenge.
                                       23                  The specific argument that the Defendants make is that Mr. Read is not
                                       24 “qualified” to assess the counterfeit nature of the product packaging on the
                                       25 counterfeit products because he is not an expert in tobacco and is not a scientist.
                                       26 His opinions do not require him to be a scientist or a tobacconist. He is opining
                                       27 about how to determine counterfeit packaging and products, which does not require
                                       28 scientific expertise. He has wide experience in counterfeit investigations in a host
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                                               1 of fields, and Defendants do not claim or suggest otherwise. His curriculum vitae
                                               2 shows that he has supervised intellectual property cases conducting more than two
                                               3 thousand investigations involving distribution of counterfeit and/or infringing
                                               4 merchandise; he has assistant state and federal law enforcement agencies with
                                               5 investigations of counterfeit merchandise; has directed investigations that have led
                                               6 to civil or criminal seizures of hundreds of thousands of items bearing counterfeit
                                               7 trademarks, has testified in more than fifty state criminal proceedings and has been
                                               8 qualified as an expert in identifying counterfeit product in such proceedings.
                                               9           He is or has been a member of the following: the Council of International
                                       10 Investigators, the International Anti-Counterfeiting Coalition, the Cook County
                                       11 Regional Organized Crime (CCROC), Pharma Anti-Counterfeiting, and a past
                                       12 president of the Special Agents Association. He has provided extensive training to
                                       13 law enforcement and customs inspectors in identification of counterfeits, and has
                                       14 provided counterfeit training to commercial companies, ranging from electronic
                                       15 companies, apparel companies, professional sports, etc.
                                       16                  As the Supreme Court has noted, “no one denies that an expert might draw a
                                       17 conclusion from a set of observations based on extensive and specialized
                                       18 experience.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 156 (1999).
                                       19                  The Defendants appear simply to suggest that the Court should hold Daubert
                                       20 hearings automatically in advance. This is and would be a waste of time absent
                                       21 specification of actual problems with the proffered testimony. The reason parties
                                       22 have the right to take expert depositions is to prevent the Court from having to
                                       23 oversee what amounts to a courtroom deposition.
                                       24                  F.    The Testimony Is Not Cumulative.
                                       25                  While claiming, on the one had that expert testimony is “new”, Defendants
                                       26 also claim the opposite, that the testimony (concerning the similarities and contrast
                                       27 in quality of packaging and tobacco leaf) is cumulative of that of Mr. Robinson.
                                       28
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                                               1           It is not. There is a difference, between testimony by a business owner (even
                                               2 one with percipient knowledge) and that of experts on the subject of the counterfeit
                                               3 nature of the Defendants’ product. And the testimony by Moore and by Read are
                                               4 not cumulative of one another. Moore does not address product packaging. Read
                                               5 does not address source of tobacco product. Defendants have not made any showing
                                               6 that evidence will be “needlessly cumulative,” as required. United States v.
                                               7 Skillman, 922 F.2d 1370, 1374 (9th Cir. 1990). They ask the Court to exclude
                                               8 evidence in advance and in the abstract. The Court can make this determination in
                                               9 connection with specific testimony as and when it is offered.
                                       10 IV.              CONCLUSION
                                       11                  For all the reasons set forth above, the Court should deny these two motions
                                       12 in limine.
                                       13 DATED: October 14, 2022                          BUCHALTER
                                                                                           A Professional Corporation
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                                                                                           By:
                                       16                                                             THOMAS J. SPEISS III
                                       17                                                              C. DANA HOBART
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